
THE COURT.
Defendants appeal from an order granting a preliminary injunction enjoining occupancy of certain lots of land by non-Caucasians.
Upon the authority of Shelley v. Kraemer (1948), 334 U.S. 1 [68 S.Ct. 836, 92 L.Ed. -] (see also Hurd v. Hodge (1948), 334 U.S. 24 [68 S.Ct. 847, 92 L.Ed. -]), holding that such restrictions cannot be enforced through court action, the order of the trial court granting the preliminary injunction must be reversed. (See also Cumings v. Hokr (1948), 31 Cal.2d 844 [193 P.2d 742]; Cassell v. Hickerson (1948), 31 Cal.2d 869 [193 P.2d 743]; Davis v. Carter (1948), 31 Cal.2d 870 [193 P.2d 744]; In re Laws (1948), 31 Cal.2d 846 [193 P.2d 744]; Lippold v. Johnson, ante, p. 892 [197 P.2d 161]; and Morin v. Crane, post, p. 896 [197 P.2d 162].)
For the reasons above stated the order appealed from is reversed.
